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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

 

 

 

)
CHRISTOPHER ZOIDIS, et al., )
)
Plaintiffs, ) Civil Action No. GLR-16-2786
)
Vv. )
)
T. ROWE PRICE ASSOCIATES, INC., )
)
)
Defendant.) :
) } oe te >
JOINT STIPULATION

TO DE-PHASE DISCOVERY AND SET AMENDED SCHEDULE

Plaintiffs Christopher Zoidis, Howard Gurwin, Kevin M. Heckman, Jacqueline Peiffer,
Charles L. Sommer, Barbara L. Sommer, Donald W. Broton, Jr., Arturo Molina, Jr., (together,
“Plaintiffs”) and Defendant T. Rowe Price Associates, Inc. (“T. Rowe Price,” and together with
Plaintiffs, the “Parties”) file this Joint Stipulation to De-Phase Discovery and Set Amended
Schedule (the “Joint Stipulation”). In support of the Joint Stipulation, the Parties respectfully state
as follows:

This case is currently subject to phased discovery, with the first phase focused on whether
T. Rowe Price provides the same or substantially the same services to the Sponsored Funds as it
does the Subadvised Funds. See Apr. 26, 2017 Order at 1 (ECF No. 94); see also Apr. 27, 2017
Initial Scheduling Order at 1 (ECF No. 95) (permitting the Parties to “commence discovery
focused upon differences between the services rendered by T. Rowe Price Associates, Inc. to the
affiliated funds on behalf of which the instant case has been brought . . . and the . . . unaffiliated
‘sub-advised’ funds that Plaintiffs allege are comparable”); Oct. 13, 2017 Order at 1 (ECF No.

115).
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After careful consideration, the Parties now jointly agree that the case should be “de-
phased,” i.e., the Parties should take discovery of all relevant issues in a single phase of the case.
The Parties believe that de-phasing the case is the most efficient and cost-effective way to proceed
for both the Parties and the Court. This agreement is without prejudice to any party’s position
regarding whether T. Rowe Rice provides the same or substantially the same services to the
Sponsored Funds as it does the Subadvised Funds.

Accordingly, the Parties jointly propose that the Court approve the de-phasing of discovery

and enter the following schedule to govern further proceedings:

 
   

 

 

 

 

 

August 27, 2019 Substantial completion of document discovery
February 24, 2020 Fact discovery complete

April 27, 2020 Parties serve expert reports

June 1, 2020 Parties serve rebuttal expert reports

July 1, 2020 Expert discovery complete

August 3, 2020 Dispositive motions due

 

 

 

 

 
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Dated: March 5, 2019

/s/__ Andrew W. Robertson

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CERTIFICATE OF SERVICE
I hereby certify that on March 5, 2019, I caused a true and correct copy of the foregoing
document to be served upon all counsel of record via the ECF system, and emailed a copy of the
same to MDD_JMCCHAMBERS@mdd.uscourts.gov.

/s/ Robert A. Skinner
Robert A. Skinner

 
